           Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                            Desc
                     Exhibit E- PNC Bank Account 2001 Statement Page 1 of 16
Virtual Wallet With Performance Spend
Statement
PNC Bank
                                                                                       Page 1 of 7
                                                                                       Primary account number:                -2001


               For the period           07/24/2024 to 08/22/2024                       Number of enclosures:          0

               JEAN PAUL ROMES MD #24-16283                                                     For 24-hour banking, and transaction or
               LISA A ROMES                                                                     interest rate information, sign-on to
               DEBTOR IN POSSESSION                                                             PNC Bank Online Banking at pnc.com
               5125 GLENBROOK RD
               STROUDSBURG PA 18360-6793                                                        For customer service call 1-888-PNC-BANK
                                                                                                PNC accepts Telecommunications Relay Service
                                                                                                (TRS) calls.
                                                                                                Para servicio en espanol, 1-866-HOLA-PNC

                                                                                        Moving? Please contact us at 1-888-PNC-BANK


                                                                                                Write to: Customer Service
                                                                                                PO Box 609
                                                                                                Pittsburgh, PA 15230-9738
                                                                                                Visit us at pnc.com

                                                                                                                  JEAN PAUL ROMES MD #24-16283
Virtual Wallet With Performance Spend Account Summary                                                             Lisa A Romes
Account number:                    -2001                                                                          Debtor In Possession
Overdraft Protection Provided By: XXXXXX5397

Balance Summary
                   Beginning              Deposits and       Checks and other           Ending
                     balance            other additions           deductions           balance
                  5,432.93                 39,221.20             43,382.72          1,271.41
                                                              Average monthly          Charges
                                                                      balance          and fees
                                                                   4,013.76                .00

Transaction Summary
                        Checks         Debit Card POS      Debit Card/Bankcard
               paid/withdrawals     signed transactions   POS PIN transactions
                               3                  138                         1
                     Total ATM          PNC Bank ATM          Other Bank ATM
                   transactions           transactions            transactions
                               3                     3                        0

Interest Summary                                                                                         As of 08/22, a total of $.26 in interest
                                                                                                         was paid this year.
             Annual Percentage Number of days in          Average collected          Interest
           Yield Earned (APYE)    interest period         balance for APYE        Earned this
                                                                                      period
                       0.01%                    30              4,013.76                 .03


Activity Detail
Deposits and Other Additions                                                                             There were 11 Deposits and Other
Date                           Amount       Description                                                  Additions totaling $39,221.20.
07/24                  14,568.00            Corporate ACH Corp Pay Locum Tenens Med
07/26                   1,000.00            Online Transfer From                5397
07/29                   1,000.00            Online Transfer From                5397
07/30                   1,500.00            Online Transfer From               95397
08/02                  10,757.46            Corporate ACH Payables
                                            SCI DISBURSEMENT 0000013545
08/05                          11.12        Debit Card Credit 814 Home & Hardware Ll
                                            BROCKWAY PA



Deposits and Other Additions continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                 Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 2 of 16
Virtual Wallet With Performance Spend Statement
                                                                                         For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                        JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                        Primary account number:        2001
Account Number:                      -2001 - continued                                   Page 2 of 7

Deposits and Other Additions                             - continued
Date                                Amount         Description

08/08                          7,920.00            Corporate ACH Corp Pay Locum Tenens Med
08/16                          1,264.25            Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
08/20                            200.34            Online Transfer From              6282
08/22                          1,000.00            Online Transfer From              5397
08/22                               .03            Interest Payment
Checks and Substitute Checks
Check                                                      Date     Reference   Check                               Date   Reference
number                                Amount               paid     number      number               Amount         paid   number
816                                    640.90             07/24     014018961   7463 *                985.80       08/01   019069142
817                                    460.00             08/21     087536880


* Gap in check sequence                                                                             There were 3 checks listed totaling
                                                                                                    $2,086.70.

Banking/Debit Card Withdrawals and Purchases                                                        There were 2 Banking Machine
Date                                Amount         Description                                      withdrawals totaling $400.00.
                                                                                                    There was 1 Debit Card/Bank card
07/24                             200.00           9967 Debit Card Purchase                         PIN POS purchase totaling $18.74.
                                                   Amazon.com*Rj30U5P91
                                                                                                    There were 138 other Banking
07/24                               20.56          9967 Debit Card Purchase The Home Depot          Machine/Debit Card deductions
                                                   #4180                                            totaling $12,005.42.
07/24                               55.05          9967 Debit Card Purchase Sunoco
                                                   0859331103
07/24                             122.37           9967 Debit Card Purchase Hotel Indigo
                                                   Pittsburg
07/24                               67.15          9967 Debit Card Purchase Tst* Mango Mango
                                                   Desse
07/24                               30.02          9967 Debit Card Purchase Blairsville Pitstop
07/24                               25.03          9967 Debit Card Purchase Blairsville Pitstop
07/24                               20.01          9967 Debit Card Purchase Sunoco
                                                   8000226902
07/24                                 9.53         9967 Debit Card Purchase Amazon
                                                   Mktpl*Rj5Io35F1
07/25                               29.11          9967 Debit Card Purchase U-Haulbutler Park
                                                   Self
07/25                               18.07          0646 Debit Card Purchase Earthlight Natural
                                                   Foo
07/25                               74.20          9967 Debit Card Purchase Sharps
                                                   Compliance, Inc
07/25                                 9.53         0646 Debit Card Purchase American Ribbon
07/25                                 3.98         0646 Debit Card Purchase Dollar Tree
                                                   Stroudsbu
07/25                               11.64          0646 Debit Card Purchase CVS/Pharmacy
                                                   #01312
07/25                             102.96           9967 Debit Card Purchase Tx Med Bd
                                                   Purchases
07/25                             230.48           0646 Debit Card Purchase Giant Martins
                                                   #6504
07/25                              49.71           0646 Debit Card Purchase Giant Fuel 6504
07/25                             300.00           ATM Withdrawal 1110 N 9TH St Stroudsburg




Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 3 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number:        2001
Account Number:                       2001 - continued                                  Page 3 of 7

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

07/26                               54.36          0646 Debit Card Purchase Weis Markets 159
07/26                               22.62          9967 Debit Card Purchase Walgreens #09878
07/26                               42.03          0646 Debit Card Purchase Weis Markets 159
07/29                               19.78          9967 Debit Card Purchase The Home Depot
                                                   #4127
07/29                               19.81          9967 Debit Card Purchase Popeyes 3401617
07/29                               15.56          9967 Debit Card Purchase Nathans Famous
                                                   3401661
07/29                               34.46          9967 Debit Card Purchase Steels Fudge Ac
07/29                               84.48          9967 Debit Card Purchase Dollar General
                                                   #25020
07/29                             785.14           9967 Debit Card Purchase Ossu Atlantic Ci
                                                   NJ
07/29                               18.74          POS Purchase Uber San Francisc Ca
07/29                               56.90          9967 Debit Card Purchase Conoco - Winslow
                                                   Gas S
07/29                               77.98          9967 Debit Card Purchase Pine Creek Liquors
                                                   085
07/29                             110.14           0646 Debit Card Purchase Thai Thani Inc
07/29                               4.53           9967 Debit Card Purchase Dairy Queen
                                                   #70679
07/30                               14.97          9967 Debit Card Purchase The Queen Bean
                                                   Bistro
07/30                               22.24          9967 Debit Card Purchase Dinos Subs and
                                                   Pizza
07/30                             105.99           9967 Recurring Debit Card Help.Max.Com
                                                   Max.Com
07/30                               34.00          9967 Debit Card Purchase CC Estrategy
                                                   Solutions
07/30                             100.00           ATM Withdrawal 71 Main St Bradford PA
07/31                               9.99           9967 Recurring Debit Card Apple.Com/Bill
07/31                              74.20           9967 Recurring Debit Card Help.Max.Com
                                                   Max.Com
07/31                               50.01          9967 Debit Card Purchase Tops Fuel #610
                                                   Bradfo
07/31                               17.34          9967 Debit Card Purchase Tops Markets #610
07/31                               22.78          9967 Debit Card Purchase Tops Markets #610
07/31                                3.17          9967 Debit Card Purchase Tops Markets #610
08/01                               27.31          0646 Debit Card Purchase Sunoco
                                                   8000226902
08/01                             996.64           9967 Debit Card Purchase State Farm 800-
                                                   956631
08/01                                 7.09         9967 Debit Card Purchase Ararmark Bradford
                                                   Regi
08/01                               31.77          0646 Debit Card Purchase Wal-Mart #2663
08/01                               29.07          9967 Debit Card Purchase Tst* Rookies
                                                   Bradford
08/02                             140.00           9967 Recurring Debit Card Bjs Membership
08/02                              76.46           0646 Debit Card Purchase Love's #0829
                                                   Outside


Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 4 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number:       -2001
Account Number:                       2001 - continued                                  Page 4 of 7

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

08/02                                 9.25         0646 Debit Card Purchase West Kittanning
                                                   Sho
08/05                                 4.85         9967 Debit Card Purchase Aramark Olean
                                                   General
08/05                                 7.55         9967 Debit Card Purchase Aramark Olean
                                                   General
08/05                               68.74          0646 Debit Card Purchase 814 Home &
                                                   Hardware Ll
08/05                               57.18          9967 Debit Card Purchase Beefeaters 814-
                                                   362971
08/05                               46.62          9967 Recurring Debit Card
                                                   Dnh*Godaddy#322349452
08/05                             290.11           9967 Debit Card Purchase Tmb Phy
                                                   Registration
08/05                               29.56          9967 Debit Card Purchase Best Western Plus
                                                   (res
08/05                               11.12          9967 Debit Card Purchase Kfc C253007
                                                   Clearfiel
08/06                             325.43           9967 Debit Card Purchase Best Western Plus
08/06                              62.89           0646 Debit Card Purchase Sheetz 0194 Falls
                                                   Cre
08/06                               63.55          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rf2Af4H71
08/06                               15.85          9967 Recurring Debit Card
                                                   Audible*Rf08H88X0
08/07                                 3.72         9967 Debit Card Purchase 42459 Mms Penn
                                                   Highlan
08/07                                 6.46         9967 Debit Card Purchase 42459 Mms Penn
                                                   Highlan
08/07                               45.96          9967 Debit Card Purchase Tst* Dented Keg
                                                   Brewin
08/07                             121.99           0646 Debit Card Purchase Tj Maxx #826
08/08                             245.63           0646 Debit Card Purchase The Home Depot
                                                   4127
08/08                               55.97          9967 Debit Card Purchase Tst* Dented Keg
                                                   Brewin
08/08                               15.88          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rf9B59Rq1
08/08                               20.13          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rm01P7Z22
08/08                              21.19           0646 Recurring Debit Card Spotify USA
08/08                               9.62           9967 Debit Card Purchase McDonald's F6752
08/09                              25.03           9967 Debit Card Purchase Kwik Fill 213
08/09                             548.66           9967 Debit Card Purchase Treana Winery, Llc.
08/09                              48.66           9967 Debit Card Purchase Amazon
                                                   Mktpl*Rm6Uo84M1
08/09                               41.76          9967 Debit Card Purchase Giant Martins
                                                   #6504
08/09                              35.00           9967 Debit Card Purchase Ppy*Legacy Looks
08/09                             568.58           9967 Debit Card Purchase Mr Tire 797
                                                   Shrewsbur


Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 5 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number:       -2001
Account Number:                      -2001 - continued                                  Page 5 of 7

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

08/12                             317.93           9967 Debit Card Purchase Wine and Spirits
                                                   4501
08/12                               21.33          9967 Debit Card Purchase Bite American
                                                   Tacos
08/12                               46.62          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rm9Xy8E40
08/12                             346.85           N0809 9967 Payment Tmobile Au Bellevue
                                                   Wa
08/12                             204.43           9967 Debit Card Purchase Momento
                                                   Restaurant
08/12                             138.14           9967 Debit Card Purchase American Ai
                                                   0010657748
08/12                               68.00          9967 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/12                               17.40          9967 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/12                               43.06          9967 Debit Card Purchase Sunoco
                                                   0157334400
08/12                              12.12           9967 Debit Card Purchase Dunkin #359283
08/12                             104.94           9967 Recurring Debit Card Intuit *Qbooks
                                                   Online
08/12                             153.33           0646 Debit Card Purchase Wm Supercenter
                                                   #2368
08/13                               28.87          9967 Debit Card Purchase Sycamore Brewing
                                                   E Ext
08/13                               50.19          9967 Debit Card Purchase Beauxjax
                                                   Crafthouse
08/14                              37.60           9967 Debit Card Purchase Laughing Crab
08/14                               4.60           9967 Debit Card Purchase Circle K 08194
08/14                             180.32           9967 Debit Card Purchase Superior's Steak
                                                   House
08/14                                5.56          9967 Debit Card Purchase McDonald's F1768
08/15                               20.02          9967 Debit Card Purchase Circle K 08194
08/16                                6.51          9967 Debit Card Purchase Starbucks Store
                                                   09604
08/16                               32.17          9967 Debit Card Purchase Tst*Posados Cafe -
                                                   Bos
08/16                               10.53          9967 Debit Card Purchase Atlanta Airport
                                                   Atlan
08/16                             692.00           9967 Debit Card Purchase Norwegian Cruise
                                                   Line
08/19                               8.06           9967 Debit Card Purchase Tailwind Shv
08/19                             229.03           0646 Debit Card Purchase The Home Depot
                                                   #4127
08/19                               70.00          9967 Debit Card Purchase Lehigh
                                                   Northampton Air
08/19                               45.45          9967 Debit Card Purchase Amazon
                                                   Mktpl*Ru1Zz2Jy0
08/19                               18.09          9967 Debit Card Purchase
                                                   Amazon.com*Ru67M83S1




Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 6 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number:        2001
Account Number:                       2001 - continued                                  Page 6 of 7

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

08/19                               11.41          0646 Debit Card Purchase Sunoco
                                                   0691411300
08/19                               83.41          0646 Debit Card Purchase Sunoco
                                                   0691411300
08/19                             125.00           0646 Debit Card Purchase State Farm 800-
                                                   956631
08/19                               46.21          0646 Debit Card Purchase The Home Depot
                                                   #4136
08/19                               29.51          0646 Debit Card Purchase Sq *Shahs Halal
                                                   Food
08/19                               12.39          9967 Debit Card Purchase McDonald's F3665
08/19                               73.01          9967 Debit Card Purchase Sunoco
                                                   0419499900
08/19                                 2.48         9967 Debit Card Purchase McDonald's
                                                   F11893 Cub
08/19                               32.52          0646 Debit Card Purchase Sheetz 0314 New
                                                   Alexa
08/19                                3.49          9967 Debit Card Purchase Country Fair #64
08/19                               57.87          9967 Debit Card Purchase Kabobs At The
                                                   Option H
08/19                             131.14           0646 Debit Card Purchase Guy Fieri Mt Airy
08/19                              24.14           0646 Debit Card Purchase Guy Fieri Mt Airy
08/19                              76.64           0646 Debit Card Purchase Exxon Orion Fuel
                                                   Llc
08/19                               5.00           9967 Debit Card Purchase McDonald's F3802
08/19                             130.32           0646 Debit Card Purchase Bjs Wholesale
                                                   #0319
08/19                               11.95          9967 Debit Card Purchase Kfc G135982
                                                   Bradford
08/19                                 6.57         9967 Debit Card Purchase Dairy Queen
                                                   #70679
08/20                             199.80           9967 Debit Card Purchase Best Western Plus
08/20                              25.02           9967 Debit Card Purchase Country Fair #64
08/20                              23.02           9967 Debit Card Purchase
                                                   Amazon.Com*R41Qp5Ty2
08/20                             250.00           9967 Debit Card Purchase Marshall
                                                   Machinery Inc
08/20                             100.57           9967 Debit Card Purchase Weis Markets 166
08/20                               5.25           9967 Debit Card Purchase Exxon Shri-Yoginc.
08/20                              13.55           0646 Debit Card Purchase USPS PO
                                                   4182080360
08/21                               46.39          9967 Debit Card Purchase U-Haulbutler Park
                                                   Self
08/21                             200.34           9967 Recurring Debit Card Locktyte Ss 6226
08/21                              17.55           0646 Debit Card Purchase Subway 12144
08/22                             119.02           9967 Debit Card Purchase Amazon
                                                   Mktpl*R44T32G92
08/22                               52.99          9967 Debit Card Purchase Amazon
                                                   Mktpl*Ru38U5Yu1




Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                    Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 7 of 16
Virtual Wallet With Performance Spend Statement
                                                                                            For the period 07/24/2024 to 08/22/2024
       For 24-hour information,sign on to PNC Bank Online Banking                           JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                           Primary account number:       -2001
Account Number:                      -2001 - continued                                      Page 7 of 7

Banking/Debit Card Withdrawals and Purchases                                    continued
Date                                Amount         Description

08/22                             210.94           9967 Recurring Debit Card Locktyte Ss 6226
08/22                              70.47           9967 Debit Card Purchase Amazon Reta*
                                                   Ru75M4Rx0
08/22                               17.14          9967 Debit Card Purchase Jimmys Hilltop Ice
                                                   Cre
Online and Electronic Banking Deductions                                                               There were 14 Online or Electronic
Date                                Amount         Description                                         Banking Deductions totaling
                                                                                                       $28,871.86.
07/24                           250.00             Twh Auto Transfer To             0164
07/24                        16,000.00             Online Transfer To                5397
07/25                            25.00             Twh Auto Transfer To             5397
07/26                           300.00             Web Pmt- Online Pmt
                                                   Kubota Credit Ckf402968710POS
07/26                             250.00           Web Pmt- Payment Quarterly Fee
                                                   6Q7Gj5A2801
07/29                             128.96           Corporate ACH EDI Paymts Ucci 44968249
07/29                              50.90           Web Pmt- Online Pmt
                                                   Fstenergy Meted Ckf402968710POS
08/02                          2,000.00            Web Pmt- Online Pmt
                                                   Bank Of America Ckf402968710POS
08/05                          5,500.00            Online Transfer To                5397
08/07                            300.00            Web Pmt Recur- Online Pmt
                                                   Kubota Credit Ckf402968710POS
08/09                          1,000.00            Web Pmt- Online Pmt
                                                   Flagstar Bank Ckf402968710POS
08/12                          2,000.00            Web Pmt- Online Pmt
                                                   Roundpoint Mortg Ckf402968710POS
08/20                             462.00           Online Transfer To                7132
08/21                             605.00           Web Pmt- Transfer Impactshare       5034
Daily Balance Detail
Date                      Balance                  Date              Balance     Date               Balance      Date             Balance
07/24                   2,560.31                   08/01              596.87     08/09             7,462.05      08/16           4,183.78
07/25                   1,705.63                   08/02            9,128.62     08/12             3,987.90      08/19           2,950.09
07/26                   2,036.62                   08/05            3,124.01     08/13             3,908.84      08/20           2,071.22
07/29                   1,629.24                   08/06            2,656.29     08/14             3,680.76      08/21             741.94
07/30                   2,852.04                   08/07            2,178.16     08/15             3,660.74      08/22           1,271.41
07/31                   2,674.55                   08/08            9,729.74




Member FDIC                                                                    Equal Housing Lender
           Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                          Desc
                     Exhibit E- PNC Bank Account 2001 Statement Page 8 of 16
Virtual Wallet With Performance Spend
Statement                                                                                                                         PO Box 609
                                                                                                                                  Pittsburgh, PA 15230-9738
PNC Bank
                                                                                      Page 1 of 9
                                                                                      Primary account number: XX-XXXX-2001


               For the period         08/23/2024 to 09/23/2024                        Number of enclosures:          0

               JEAN PAUL ROMES MD #24-16283                                                    For 24-hour banking, and transaction or
               LISA A ROMES                                                                    interest rate information, sign-on to
               DEBTOR IN POSSESSION                                                            PNC Bank Online Banking at pnc.com
               5125 GLENBROOK RD                                                               For customer service call 1-888-PNC-BANK
                                                                                               Para servicio en espanol, 1-866-HOLA-PNC
               STROUDSBURG PA 18360-6793

                                                                                       Moving? Please contact us at 1-888-PNC-BANK
                                                                                               Visit us at pnc.com


                                                                                               PNC accepts Telecommunications Relay Service (TRS)
                                                                                               calls.

IMPORTANT INFORMATION ABOUT CONSUMER CHECK QUANTITIES

Effective September 29, 2024, check order quantities for the following categories will decrease as follows:

>Consumer Wallet Single, Wallet Duplicate, Personal Value Packs, Wallet Top Stub, and Wallet End Stub
will decrease from 80 to 60 checks
>Consumer Personal Deposit Tickets Single and Duplicate will decrease from 100 to 80 deposit tickets

There will be no changes to the quantities of any other consumer check types, including PNC Exclusive Wallet
and PNC Exclusive Wallet Duplicate.

If you have questions regarding these changes, please call the number at the top of this statement or visit a
PNC branch.
                                                                                                                 JEAN PAUL ROMES MD #24-16283
Virtual Wallet With Performance Spend Account Summary                                                            LISA A ROMES
Account number:        XX-XXXX-2001                                                                              DEBTOR IN POSSESSION
Overdraft Protection Provided By: XXXXXX5397

Balance Summary
                   Beginning             Deposits and       Checks and other           Ending
                     balance           other additions           deductions           balance
                  1,271.41               95,731.39              76,071.76         20,931.04
                                                             Average monthly          Charges
                                                                     balance          and fees
                                                                  9,096.03                .00

Transaction Summary
                        Checks        Debit Card POS      Debit Card/Bankcard
               paid/withdrawals    signed transactions   POS PIN transactions
                               2                 158                         0
                     Total ATM        PNC Bank ATM           Other Bank ATM
                   transactions         transactions             transactions
                               4                    4                        0

Interest Summary                                                                                        As of 09/23, a total of $.34 in interest
                                                                                                        was paid this year.
             Annual Percentage Number of days in         Average collected          Interest
           Yield Earned (APYE)    interest period        balance for APYE        Earned this
                                                                                     period
                       0.01%                   32              9,096.03                 .08
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                 Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 9 of 16
Virtual Wallet With Performance Spend Statement
                                                                                         For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                        JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                        Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                                Page 2 of 9
                          2001

Activity Detail
Deposits and Other Additions                                                                        There were 14 Deposits and Other
Date                                Amount         Description                                      Additions totaling $95,731.39.
08/23                          8,007.50            Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
08/26                           210.94             Online Transfer From                6282
08/26                        10,800.00             Corporate ACH Corp Pay Locum Tenens Med
08/30                            42.14             Debit Card Credit Amazon Mktplace Pmts
                                                   Amzn.com/bi WA
08/30                          9,993.36            Corporate ACH Payables
                                                   SCI DISBURSEMENT 0000013545
08/30                          1,160.00            Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
09/06                        18,486.72             Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
09/09                         1,500.00             Online Transfer From                5397
09/12                         5,280.00             Corporate ACH Corp Pay Locum Tenens Med
09/13                        15,250.00             Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
09/18                         1,000.00             Online Transfer From                5397
09/20                        23,620.00             Direct Deposit - Payroll
                                                   AYA LOCUMS LLC 21066833
09/20                             380.65           Online Transfer From                6282
09/23                                .08           Interest Payment
Checks and Substitute Checks
Check                                                      Date     Reference   Check                               Date   Reference
number                                Amount               paid     number      number               Amount         paid   number
819                                    487.04             09/18     013595821   7477 *                985.80       09/04   016265382


* Gap in check sequence                                                                             There were 2 checks listed totaling
                                                                                                    $1,472.84.

Banking/Debit Card Withdrawals and Purchases                                                        There were 2 Banking Machine
Date                                Amount         Description                                      withdrawals totaling $900.00.
                                                                                                    There were 159 other Banking
08/23                               40.04          9967 Debit Card Purchase Gas N Goods             Machine/Debit Card deductions
                                                   Sciota PA                                        totaling $12,844.50.
08/23                               24.37          9967 Recurring Debit Card Netflix.com
08/23                               10.95          0646 Debit Card Purchase Stroudsmoor
                                                   Country In
08/23                               74.96          0646 Debit Card Purchase Wm Supercenter
                                                   #2368
08/23                               25.43          0646 Debit Card Purchase Giant Martins
                                                   #6504
08/23                               47.18          9967 Debit Card Purchase Target Pittsburgh
08/23                               11.62          9967 Debit Card Purchase Walgreens #9281
08/23                               88.02          9967 Debit Card Purchase Wine and Spirits
                                                   0247
08/23                             149.79           9967 Debit Card Purchase Wine and Spirits
                                                   0247



Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 10 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                               Page 3 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

08/23                             325.94           9967 Debit Card Purchase Wal-Mart #1640
08/23                             299.03           9967 Debit Card Purchase Wm Supercenter
                                                   #1640
08/23                             400.00           ATM Withdrawal 1110 N 9TH St Stroudsburg
08/26                             105.95           9967 Debit Card Purchase Amazon Reta*
                                                   R444V8K72
08/26                               21.91          9967 Debit Card Purchase Chick-Fil-A #02603
08/26                                2.49          9967 Debit Card Purchase Sheetz 0498
                                                   Blairsvil
08/26                               79.58          9967 Debit Card Purchase Trader Joe S #638
08/26                               10.69          9967 Debit Card Purchase Staples
                                                   Pittsbsurgh P
08/26                               64.58          9967 Debit Card Purchase Aldi 69080
                                                   Pittsburgh
08/26                               15.16          9967 Debit Card Purchase Wendys 2381
                                                   Monroevil
08/26                               79.25          9967 Debit Card Purchase Sheetz 2204
                                                   Murrysvil
08/26                                 6.68         9967 Debit Card Purchase Burger King
                                                   #23950
08/26                                 5.18         9967 Debit Card Purchase Arby's 324
                                                   Mifflinvil
08/26                             127.20           0646 Debit Card Purchase Ken and Company
                                                   Salon
08/26                             213.65           9967 Debit Card Purchase The Home Depot
                                                   #4127
08/26                               15.00          9967 Debit Card Purchase Sparkle Rt 611
08/26                                5.29          9967 Debit Card Purchase Amazon
                                                   Mktpl*R42Wc3080
08/26                               35.00          9967 Debit Card Purchase American Ai
                                                   0014441881
08/26                             276.00           9967 Debit Card Purchase Progressive
                                                   Physicians
08/26                               35.94          9967 Debit Card Purchase Qdi*Quest
                                                   Diagnostics
08/26                             128.96           9967 Debit Card Purchase United Concordia
                                                   Inc
08/26                               34.80          0646 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/26                               24.76          0646 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/26                                 8.42         9967 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/26                               56.18          9967 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/26                               55.11          0646 Debit Card Purchase Tst* Mountain View
                                                   Vin
08/26                               15.02          9967 Debit Card Purchase Gas N Goods
                                                   Sciota PA
08/26                             607.22           0646 Debit Card Purchase Wal-Mart #2368



Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 11 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                               Page 4 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

08/26                             142.17           0646 Debit Card Purchase Homegoods #1025
08/27                              14.91           9967 Debit Card Purchase Beechers Newark
                                                   NJ
08/27                               28.01          9967 Debit Card Purchase Tst*Cousins Bbq -
                                                   B47
08/27                               25.43          0646 Debit Card Purchase Wine and Spirits
                                                   4501
08/27                               46.90          9967 Debit Card Purchase Tst* Walk-On's -
                                                   Texar
08/27                               42.14          9967 Debit Card Purchase Amazon
                                                   Mktpl*R41147Ki1
08/27                                 6.80         9967 Debit Card Purchase McDonald's
                                                   F15967
08/27                               38.93          9967 Debit Card Purchase
                                                   Localunamexicangrill
08/27                               53.47          9967 Debit Card Purchase Hilton Garden Inn
                                                   Rest
08/28                               14.96          9967 Debit Card Purchase Hilton Garden Inn
                                                   Rest
08/28                             151.62           0646 Debit Card Purchase Aderis Health
                                                   Technolo
08/28                               68.46          0646 Debit Card Purchase Weis Markets 159
08/29                               10.49          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rk71A1F31
08/29                             640.90           0646 Debit Card Purchase Highmark Benefits
                                                   Grou
08/29                             124.57           0646 Debit Card Purchase Aldi 60085
                                                   Stroudsbur
08/29                               23.29          9967 Debit Card Purchase Par*Tacos 4 Life -
                                                   Tex
08/29                                 9.53         9967 Debit Card Purchase Amazon
                                                   Mktpl*Rk9Yz8Zv0
08/29                               25.43          9967 Debit Card Purchase Amazon
                                                   Mktpl*Rk80F5Qh2
08/29                               24.94          9967 Debit Card Purchase Hilton Garden Inn
                                                   Rest
08/30                             715.56           9967 Debit Card Purchase State Farm 800-
                                                   956631
08/30                                 9.99         9967 Recurring Debit Card Apple.Com/Bill
08/30                                 7.41         9967 Debit Card Purchase
                                                   Amazon.com*Rk1260Er0
08/30                               42.04          0646 Debit Card Purchase Wal-Mart #2368
08/30                               68.68          0646 Debit Card Purchase Giant Fuel 6504
08/30                               10.80          9967 Debit Card Purchase Super 1 Foods 618
08/30                                8.98          9967 Debit Card Purchase Panda Express
                                                   #3515
09/03                                 8.49         9967 Debit Card Purchase Hilton Garden Inn
09/03                                 7.85         9967 Debit Card Purchase Cinemark Theatres
                                                   350




Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                               Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 12 of 16
Virtual Wallet With Performance Spend Statement
                                                                                       For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                      JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                      Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                              Page 5 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                               continued
Date                                Amount         Description

09/03                               12.83          9967 Debit Card Purchase Cinemark Theatres
                                                   350
09/03                               12.23          9967 Debit Card Purchase Panda Express
                                                   #3515
09/03                               75.00          9967 Debit Card Purchase Louisiana State
                                                   Board
09/03                                 1.72         9967 Debit Card Purchase Usb Srv Fee La St
                                                   Boar
09/03                               21.44          0646 Debit Card Purchase Hepler S Beer
                                                   Barrel
09/03                                 7.85         9967 Debit Card Purchase Cinemark Theatres
                                                   350
09/03                               12.34          9967 Debit Card Purchase Cinemark Theatres
                                                   350
09/03                               12.99          9967 Debit Card Purchase Newk's Eatery
                                                   Texarka
09/03                                 7.89         9967 Debit Card Purchase Burger King #8395
09/03                                 7.77         9967 Debit Card Purchase Starbucks Store
                                                   8886
09/03                               43.02          9967 Debit Card Purchase Love's #0283
                                                   Outside
09/03                                7.00          9967 Debit Card Purchase Hyatt Hotels
09/03                               10.58          9967 Debit Card Purchase Par*Smoothie King
                                                   Sk11
09/03                             284.17           9967 Debit Card Purchase Tst* Ranch Irving
                                                   Tx
09/03                                 9.08         9967 Debit Card Purchase Panda Express
                                                   #2442
09/04                                 6.77         9967 Debit Card Purchase Starbucks Store
                                                   9538
09/04                             125.75           9967 Debit Card Purchase Superior's Steak
                                                   House
09/04                                 4.37         9967 Debit Card Purchase McDonald's
                                                   F11643
09/04                               46.62          9967 Recurring Debit Card
                                                   Dnh*Godaddy#327677756
09/04                               13.23          0646 Debit Card Purchase Martino's Bilo
                                                   Brockw
09/04                               17.24          9967 Debit Card Purchase Chipotle 2656
09/05                               26.00          0646 Debit Card Purchase Station 101 Bar &
                                                   Pub
09/05                               64.78          0646 Debit Card Purchase Sheetz 2146
                                                   Brockway
09/05                                 6.44         9967 Debit Card Purchase Wendys #27900
09/05                                 9.08         9967 Debit Card Purchase Panda Express
                                                   #2442
09/06                             144.92           9967 Debit Card Purchase 2 Johns Steak &
                                                   Seafoo
09/06                             104.62           0646 Debit Card Purchase Wal-Mart #2368
09/06                              15.85           9967 Debit Card Purchase Audible*Zt21X41J1



Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 13 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                               Page 6 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

09/06                               12.27          0646 Debit Card Purchase Giant Martins
                                                   #6504
09/06                               70.51          9967 Debit Card Purchase Nickys Mexican
09/09                                7.64          9967 Debit Card Purchase McDonald's
                                                   F11643
09/09                               44.28          0646 Debit Card Purchase Sunoco
                                                   8000226902
09/09                               79.03          0646 Debit Card Purchase Westwood
                                                   Johnstown PA
09/09                               21.80          0646 Debit Card Purchase West Hills Beer &
                                                   Soda
09/09                               14.91          9967 Debit Card Purchase Newk's Eatery
                                                   #1048
09/09                                 2.25         0646 Debit Card Purchase Parking In
                                                   Pittsburgh
09/09                               83.55          0646 Debit Card Purchase Caffe' Mona La
                                                   Bistro
09/09                               45.90          0646 Debit Card Purchase Phipps
                                                   Conservatory
09/09                             110.95           0646 Debit Card Purchase Tst*Balance 2
                                                   Johnsto
09/09                              21.19           N0907 0646 Payment Spotifyab New York NY
09/09                             165.43           9967 Debit Card Purchase Mvbc Jimmys
                                                   Steak
09/09                               42.11          9967 Debit Card Purchase Circle K # 44199
09/09                               15.47          0646 Debit Card Purchase Giant Eagle #0046
09/09                               78.74          0646 Debit Card Purchase Get Go #3612
                                                   Johnstow
09/09                              90.25           0646 Debit Card Purchase Wal-Mart #5356
09/09                             327.50           N0909 9967 Payment Tmobile Au Bellevue
                                                   Wa
09/10                               31.06          0646 Debit Card Purchase Westwood
                                                   Johnstown PA
09/10                               48.00          9967 Debit Card Purchase Olive Garden
                                                   0021677
09/10                             105.99           0646 Debit Card Purchase Best Buy State
                                                   Colle
09/11                               35.12          9967 Debit Card Purchase Tst* Walk-On's -
                                                   Texar
09/11                                 9.53         9967 Debit Card Purchase Amazon Mark*
                                                   Z89Om9Fu1
09/11                               15.77          9967 Debit Card Purchase Dairy Queen
                                                   #14651
09/12                             104.94           9967 Recurring Debit Card Intuit *Qbooks
                                                   Online
09/13                               51.41          9967 Debit Card Purchase Hooters Of
                                                   Texarkana
09/13                                 7.24         9967 Debit Card Purchase Andy's Frozen
                                                   Custard
09/13                             120.11           9967 Debit Card Purchase Amazon Mark*
                                                   4R2Jg28T3


Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                               Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 14 of 16
Virtual Wallet With Performance Spend Statement
                                                                                       For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                      JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                      Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                              Page 7 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                               continued
Date                                Amount         Description

09/13                               60.43          9967 Debit Card Purchase Ironwood Grill
09/13                               16.02          9967 Debit Card Purchase Wal-Mart 4371 Gas
09/16                               71.96          0646 Debit Card Purchase Sunoco
                                                   8000226902
09/16                               89.51          0646 Debit Card Purchase Lowes #02252*
09/16                                9.74          9967 Debit Card Purchase Hilton Garden Inn
                                                   Rest
09/16                               35.00          9967 Debit Card Purchase American Ai
                                                   0014443198
09/16                                 8.65         9967 Debit Card Purchase Mms-Christus-St
                                                   Michae
09/16                             108.83           9967 Debit Card Purchase Naaman's Bbq
                                                   Texarkan
09/16                               27.55          9967 Debit Card Purchase Amazon Mark*
                                                   V30Id0Oo3
09/16                                 6.86         9967 Debit Card Purchase McDonald's
                                                   F31310
09/16                            500.00            ATM Withdrawal 1110 N 9TH St Stroudsburg
09/17                          1,320.00            9967 Debit Card Purchase Ewr Lot P4
                                                   Newark NJ
09/17                              94.80           8764 Debit Card Purchase Weis Markets 159
09/17                              12.00           8764 Debit Card Purchase Sparkle Rt 611
09/18                             389.77           8764 Debit Card Purchase Wine and Spirits
                                                   4506
09/18                               69.95          8764 Debit Card Purchase The Home Depot
                                                   #4127
09/18                               71.55          8764 Debit Card Purchase Fsp*Shawneecraft
                                                   Brewi
09/18                               66.96          8764 Debit Card Purchase Amazon
                                                   Mktpl*Pj7Dm1O83
09/19                             140.73           0646 Debit Card Purchase Finolas Irish Pub
09/19                             278.00           8764 Debit Card Purchase Norwegian Cruise
                                                   Line
09/19                             145.00           8764 Debit Card Purchase Ptc Ezpass Csc
                                                   Web Ivr
09/19                             187.00           8764 Debit Card Purchase PA Driver &
                                                   Vehicle SE
09/19                              67.25           8764 Debit Card Purchase Speedway 09967
09/20                             128.96           8764 Debit Card Purchase United Concordia
                                                   Inc
09/20                               30.02          8764 Debit Card Purchase Sunoco
                                                   8000226902
09/20                                 2.01         0646 Debit Card Purchase McDonald's
                                                   F14279
09/20                              10.06           8764 Debit Card Purchase Tops Markets #610
09/23                             199.80           8764 Debit Card Purchase Best Western Plus
09/23                              35.26           8764 Debit Card Purchase Taco Inc. Modern
                                                   Mexic
09/23                             200.34           8764 Recurring Debit Card Locktyte Ss 6226



Banking/Debit Card Withdrawals and Purchases continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 15 of 16
Virtual Wallet With Performance Spend Statement
                                                                                        For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                       JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                       Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                               Page 8 of 9
                          2001

Banking/Debit Card Withdrawals and Purchases                                continued
Date                                Amount         Description

09/23                               36.74          0646 Debit Card Purchase Martino's Bilo
                                                   Brockw
09/23                             180.31           8764 Debit Card Purchase Locktyte Ss 6226
09/23                              54.02           0646 Debit Card Purchase Sheetz 2194 Falls
                                                   Cre
09/23                                 3.70         8764 Debit Card Purchase Kfc G135982
                                                   Bradford
09/23                               13.13          8764 Debit Card Purchase Arbys 6229
                                                   Clearfield
09/23                             210.94           8764 Recurring Debit Card Locktyte Ss 6226
09/23                              37.84           8764 Debit Card Purchase Tst* Dented Keg
                                                   Brewin
09/23                                 7.94         8764 Debit Card Purchase Arbys 6229
                                                   Clearfield
09/23                               24.37          8764 Recurring Debit Card Netflix 1
                                                   844505299
09/23                               16.87          8764 Debit Card Purchase Panda Gourmet
Online and Electronic Banking Deductions                                                           There were 22 Online or Electronic
Date                                Amount         Description                                     Banking Deductions totaling
                                                                                                   $60,854.42.
08/23                             250.00           Twh Auto Transfer To            0164
08/23                              25.00           Twh Auto Transfer To            5397
08/26                             237.62           Web Pmt- Online Pmt
                                                   Bk Of Amer Visa Ckf643252222POS
08/27                        13,000.00             Online Transfer To               5397
08/27                           500.00             Online Transfer To               4943
09/03                         2,000.00             Web Pmt- Online Pmt
                                                   Bank Of America Ckf402968710POS
09/06                             300.00           Web Pmt Recur- Online Pmt
                                                   Kubota Credit Ckf402968710POS
09/06                         7,000.00             Online Transfer To               5397
09/09                        10,000.00             Online Transfer To               5397
09/09                         1,750.00             Online Transfer To              08039
09/09                         2,700.00             Online Transfer To               7116
09/09                         1,000.00             Web Pmt- Online Pmt
                                                   Flagstar Bank Ckf402968710POS
09/09                             494.32           Web Pmt- Online Pmt
                                                   Fstenergy Meted Ckf402968710POS
09/10                             220.00           Payment,E-Check Payment 5654 De Passport
                                                   0818
09/11                          1,500.00            Online Transfer To               5397
09/12                          5,000.00            Online Transfer To               5397
09/13                          2,000.00            Web Pmt- Online Pmt
                                                   Roundpoint Mortg Ckf402968710POS
09/13                        10,000.00             Online Transfer To               5397
09/20                           272.48             Web Pmt- Online Pmt
                                                   Bk Of Amer Visa Ckf643252222POS



Online and Electronic Banking Deductions continued on next page
               Case 24-16283-JKS Doc 21-5 Filed 10/15/24 Entered 10/15/24 15:36:04                                                       Desc
                         Exhibit E- PNC Bank Account 2001 Statement Page 16 of 16
Virtual Wallet With Performance Spend Statement
                                                                                               For the period 08/23/2024 to 09/23/2024
       For 24-hour information,sign on to PNC Bank Online Banking                              JEAN PAUL ROMES MD #24-16283
       on pnc.com                                                                              Primary account number: XX-XXXX-2001
Account Number:           XX-XXXX-            - continued                                      Page 9 of 9
                          2001

Online and Electronic Banking Deductions                                 - continued
Date                                Amount         Description

09/20                          1,000.00            Online Transfer To                            5397
09/23                            605.00            Web Pmt- Transfer Impactshare                   4324
09/23                          1,000.00            Online Transfer To                            4943
Daily Balance Detail
Date                      Balance                  Date               Balance          Date            Balance      Date            Balance
08/23                   7,506.58                   09/03             9,046.72          09/10          2,578.82      09/17          1,903.35
08/26                  16,107.71                   09/04             7,846.94          09/11          1,018.40      09/18          1,818.08
08/27                   2,351.12                   09/05             7,740.64          09/12          1,193.46      09/19          1,000.10
08/28                   2,116.08                   09/06            18,579.19          09/13          4,188.25      09/20         23,557.22
08/29                   1,256.93                   09/09             2,983.87          09/16          3,330.15      09/23         20,931.04
08/30                  11,588.97




Member FDIC                                                                     Equal Housing Lender
